     Case 1:23-cr-10004-SOH Document 1               Filed 07/25/23 Page 1 of 2 PageID   #: 1 COURT
                                                                                 U.S. DISTRICT
                                                                                WESTERN DISTRICT OF ARKANIAI
                                                                                            FILED


                                                                                        JUL 2 5 2023
                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  EL DORADO DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
                                                 )
V.                                               )
                                                 )
                                                 )            21 U.S.C. § 841(a)(l)
                                                 )            21 U.S.C. § 841(b)(l)(A)(viii)
WALLACE KENYA CUTTER, SR.                        )            21 U.S.C. § 841(b)(l)(C)
    a/k/a "Kilo"                                 )            21 U.S.C. § 841(b)(l)(D)


                                         INDICTMENT

The Grand Jury Charges:

                                          COUNT ONE

        On or about March 27, 2023, in the Western District of Arkansas, El Dorado Division, the

Defendant, WALLACE KENYA CUTTER, SR., a/k/a "Kilo", did knowingly and intentionally

possess a controlled substance, namely, more than 500 grams of a mixture or substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, with intent to

distribute that controlled substance.

        All in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A)(viii).

                                          COUNT TWO

        On or about March 27, 2023, in the Western District of Arkansas, El Dorado Division, the

Defendant, WALLA CE KENYA CUTTER, SR., a/k/a "Kilo", did knowingly and intentionally

possess a controlled substance, namely, cocaine, a Schedule II controlled substance, with intent to

distribute that controlled substance.

        All in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).
       Case 1:23-cr-10004-SOH Document 1                Filed 07/25/23 Page 2 of 2 PageID #: 2
"



                                             COUNT THREE

           On or about March 27, 2023, in the Western District of Arkansas, El Dorado Division, the

    Defendant, WALLACE KENYA CUTTER, SR., a/k/a "Kilo", did knowingly and intentionally

    possess a controlled substance, namely, less than 50 kilograms of marijuana, a Schedule I

    controlled substance, with intent to distribute that controlled substance.

           All in violation of Title 21 , United States Code, Sections 841(a)(l) and 841(b)(l)(D).


                                                  DAVID CLAY FOWLKES
    A True Bill.                                  UNITED STATES ATTORNEY



    ls/Grand Jury Foreperson                      By:
    Grand Jury Foreperson                                 Graham Jones
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